           Case: 23-1671      Document: 43       Filed: 11/27/2023    Page: 1




                                      No. 23-1671
___________________________________________________________________________________________

                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SIXTH CIRCUIT
___________________________________________________________________________________________


DANA NESSEL, Attorney General of the State of Michigan, on behalf of the People
                         of the State of Michigan,
                                  Plaintiff-Appellant,
                                            v.
 ENBRIDGE ENERGY, LIMITED PARTNERSHIP; ENBRIDGE ENERGY COMPANY, INC.;
                 AND ENBRIDGE ENERGY PARTNERS, L.P.,

                                Defendants-Appellees.



On Permissive Interlocutory Appeal from the United States District Court for the
       Western District of Michigan, Case No. 1:21-CV-01057-jtn-rsk
__________________________________________________________________


   BRIEF OF THE CHAMBERS AS AMICI CURIAE IN SUPPORT OF
                  DEFENDANTS-APPELLEES
___________________________________________________________________________________________

Tara S. Morrissey                                 Elbert Lin
Stephanie A. Maloney                                Counsel of Record
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Counsel for Amicus Curiae                         Counsel for Amici Curiae
Chamber of Commerce of the
United States of America
                     Case: 23-1671          Document: 43           Filed: 11/27/2023         Page: 2

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Chamber of Commerce of the United States of America
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  No




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No, no publicly held company has 10% or greater ownership in the Chamber.




                                             CERTIFICATE OF SERVICE

                               November 24, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Elbert Lin




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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671       Document: 43      Filed: 11/27/2023     Page: 3

                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

        (a) Parties Required to Make Disclosure. With the exception of the United States
 government or agencies thereof or a state government or agencies or political subdivisions thereof,
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6CA-1
8/08                                                                                             Page 2 of 2
                     Case: 23-1671          Document: 43           Filed: 11/27/2023         Page: 4

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Canadian Chamber of Commerce
                                                            Name of Party
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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671       Document: 43      Filed: 11/27/2023     Page: 5

                                       6th Cir. R. 26.1
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                                  AND FINANCIAL INTEREST

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6CA-1
8/08                                                                                             Page 2 of 2
                     Case: 23-1671          Document: 43           Filed: 11/27/2023         Page: 6

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Indiana Chamber of Commerce
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
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        party:

  No




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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671       Document: 43      Filed: 11/27/2023     Page: 7

                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

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6CA-1
8/08                                                                                             Page 2 of 2
                     Case: 23-1671          Document: 43           Filed: 11/27/2023         Page: 8

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Michigan Chamber of Commerce
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
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        party:

  No




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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671       Document: 43      Filed: 11/27/2023     Page: 9

                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

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6CA-1
8/08                                                                                             Page 2 of 2
                    Case: 23-1671           Document: 43          Filed: 11/27/2023          Page: 10

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Ohio Chamber of Commerce
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  No




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
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        interest:
  No, no publicly held company has any ownership in the Chamber




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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671      Document: 43      Filed: 11/27/2023      Page: 11

                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

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6CA-1
8/08                                                                                             Page 2 of 2
                    Case: 23-1671           Document: 43          Filed: 11/27/2023          Page: 12

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Pennsylvania Chamber of Business and Industry
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671      Document: 43      Filed: 11/27/2023      Page: 13

                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
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6CA-1
8/08                                                                                             Page 2 of 2
                    Case: 23-1671           Document: 43          Filed: 11/27/2023          Page: 14

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1671                              Case Name: Nessel v. Enbridge Energy, L.P., et al.
 Name of counsel: Elbert Lin

 Pursuant to 6th Cir. R. 26.1, Wisconsin Manufacturers and Commerce
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
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        party:

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6CA-1
8/08                                                                                                                 Page 1 of 2
                   Case: 23-1671      Document: 43      Filed: 11/27/2023      Page: 15

                                       6th Cir. R. 26.1
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6CA-1
8/08                                                                                             Page 2 of 2
                  Case: 23-1671              Document: 43             Filed: 11/27/2023              Page: 16




                                             TABLE OF CONTENTS

TABLE OF CONTENTS .............................................................................................. i
TABLE OF AUTHORITIES........................................................................................ ii
INTEREST OF AMICI CURIAE................................................................................. vi
INTRODUCTION ........................................................................................................ 1
ARGUMENT ............................................................................................................... 2
I. THE NATIONAL AND INTERNATIONAL CONSEQUENCES OF A LINE 5
SHUTDOWN SUPPORT FEDERAL JURISDICTION ............................................. 2
A. Shutting down Line 5 would lead to severe negative consequences in multiple
states ............................................................................................................................. 2
B. Shutting down Line 5 would also cause harm internationally ................................ 7
II. THE STATE'S EFFORTS TO EVADE FEDERAL JURISDICTION SHOULD
NOT BE CONDONED ................................................................................................ 9
A. The State and its representatives have sought to escape federal jurisdiction
through overt gamesmanship........................................................................................ 9
B. The State's gamesmanship is wasteful, unbecoming, and inconsistent with the
federal courts' "virtually unflagging" obligation to exercise federal jurisdiction where
it exists ........................................................................................................................ 13
CONCLUSION .......................................................................................................... 17
CERTIFICATE OF COMPLIANCE ......................................................................... 18
CERTIFICATE OF SERVICE ................................................................................... 18




                                                                  i
                  Case: 23-1671             Document: 43             Filed: 11/27/2023             Page: 17




                                         TABLE OF AUTHORITIES

                                                                                                                       Page(s)

                                                            Cases

Acheson Hotels, LLC v. Laufer, 143 S.Ct. 1053 (2023).......................................... 15

Bad River Band of the Lake Superior Tribe of Chippewa Indians of the
  Bad River Rsrv. v. Enbridge Energy Co., et al., Case No. 19-cv-602
  (W.D. Wis. 2023) .............................................................................................. i, 6

Colo. River Water Conservation Dist. v. U.S., 424 U.S. 800 (1976) ............ 1, 13, 15
Colt Industries Operating Corp. v. Index-Werke K.G., 739 F.2d 622
  (Fed. Cir. 1984) .................................................................................................. 13
Doster v. Kendall, 54 F.4th 398 (6th Cir. 2022) ..................................................... 14
Estate of Cornell v. Bayview Loan Serv., LLC, 908 F.3d 1008 (6th Cir.
   2018) ..................................................................................................................... 2
Enbridge v. Whitmer, No. 1:20-cv-1141 ................................................................. 10

Grable & Sons Metal Products, Inc. v. Darue Engineering &
  Manufacturing, 545 U.S. 308 (2005) ................................................................... 2

Gunn v. Minton, 568 U.S. 251 (2013) ....................................................................... 2
In re Kramer, 71 F.4th 428 (6th Cir. 2023)............................................................. 14
Knox v. Serv. Emps. Int’l Union, Loc. 1000, 567 U.S. 298 (2012) ......................... 15

LeChase Constr. Servs., LLC v. Argonaut Ins. Co., 63 F.4th 160 (2d Cir.
  2023) .................................................................................................................. 15

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118
   (2014) ................................................................................................................. 14
Mata v. Lynch, 576 U.S. 143 (2015) ....................................................................... 13

Michigan v. Enbridge, No. 1:20-cv-01142-JTN-RSK, ECF. No. 80 ...................... 10

Reece v. Bank of N.Y. Mellon, 760 F.3d 771 (8th Cir. 2014) ................................. 16

                                                                ii
                 Case: 23-1671           Document: 43            Filed: 11/27/2023           Page: 18




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                                                           iii
                  Case: 23-1671             Document: 43             Filed: 11/27/2023              Page: 19




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                                        iv
                  Case: 23-1671             Document: 43            Filed: 11/27/2023             Page: 20




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                                                                v
            Case: 23-1671     Document: 43     Filed: 11/27/2023   Page: 21




                         INTEREST OF AMICI CURIAE1

      The Chamber of Commerce of the United States of America, the Canadian

Chamber of Commerce, the Indiana Chamber of Commerce, the Michigan Chamber

of Commerce, the Ohio Chamber of Commerce, the Pennsylvania Chamber of

Business and Industry, and the Wisconsin Manufacturers and Commerce Inc.

(collectively, the “Chambers”) respectfully submit this amici curiae brief in support

of Defendants-Appellees (collectively, “Enbridge”).

      The Chamber of Commerce of the United States of America (“U.S. Chamber”)

is the world’s largest business federation. It represents approximately 300,000 direct

members and indirectly represents the interests of more than 3 million companies and

professional organizations of every size, in every industry sector, and from every

region of the country. An important function of the U.S. Chamber is to represent the

interests of its members in matters before Congress, the Executive Branch, and the

courts. To that end, the U.S. Chamber regularly files amicus curiae briefs in cases, like

this one, that raise issues of concern to the nation’s business community.

      The Canadian Chamber of Commerce (the “Canadian Chamber”) is Canada’s

largest and most activated business network—representing over 400 chambers of

commerce and boards of trade and more than 200,000 business of all sizes, from all


      1
        No counsel for any party authored this brief in whole or in part and no entity
or person, aside from amici, their members, or their counsel, made any monetary
contribution intended to fund the preparation or submission of this brief. All parties
have consented to the filing of this brief.
                                            vi
            Case: 23-1671    Document: 43     Filed: 11/27/2023   Page: 22




sectors of the economy and from every part of the country—to create the conditions

for collective success. The Canadian Chamber works to promote business success and

a healthier economy. In order to support Canadian business interests domestically and

globally, the Canadian Chamber will at times file amicus curiae briefs like this one.

      The Indiana Chamber of Commerce (“Indiana Chamber”) seeks to provide the

maximum opportunity for meaningful employment for all the citizens of Indiana by

ensuring that a world-competitive business climate exists in the state. The Indiana

Chamber does this by advancing thoughtful public policy in the legislature and before

Indiana courts. With more than 5,000 member businesses, the Indiana Chamber is the

largest broad-based business organization in the state.

      The Michigan Chamber of Commerce (“Michigan Chamber”) is Michigan’s

leading state-wide business advocacy organization representing approximately 4,000

members who employ more than 1 million people. Its membership includes businesses

big and small, trade associations, and local chambers of commerce representing all 83

Michigan counties and a variety of industries. For over 60 years, the Michigan

Chamber has been a champion for good public policy. Using its voice to advance

member priorities through legislative, legal, and political action, the Michigan

Chamber’s ultimate goal is to achieve policies that benefit members, their employees,

and in turn the people of the State of Michigan by enhancing the quality of life for

Michigan families.

      The Ohio Chamber of Commerce (“Ohio Chamber”) is Ohio’s largest and most
                                    vii
            Case: 23-1671     Document: 43     Filed: 11/27/2023   Page: 23




diverse statewide business advocacy organization, representing businesses ranging

from small sole proprietorships to some of the nation’s largest companies. Founded in

1893, the Ohio Chamber works to promote and protect the interests of its nearly 8,000

business members, while building a more favorable business climate in Ohio by

advocating for the interests of Ohio’s business community on matters of statewide

importance. The Ohio Chamber promotes a pro-growth agenda with policymakers and

in courts across Ohio. It seeks a stable and predictable legal system which fosters a

business climate where enterprise and Ohioans can prosper. The Ohio Chamber

regularly files amicus briefs in cases that are important to its members’ interests.

      The Pennsylvania Chamber of Business and Industry (“Pennsylvania

Chamber”) is the largest broad-based business association in Pennsylvania. It has close

to 10,000 member businesses throughout Pennsylvania, which employ more than half

of the Commonwealth’s private workforce. Its members range from small companies

to mid-size and large business enterprises. The Pennsylvania Chamber’s mission is to

advocate on public policy issues that will expand private sector job creation, to

promote an improved and stable business climate, and to promote Pennsylvania’s

economic development for the benefit of all Pennsylvania citizens.

      Wisconsin Manufacturers & Commerce Inc. (“WMC”) is Wisconsin’s chamber

of commerce and manufacturers’ association. With member businesses of all sizes and

across all sectors of Wisconsin’s economy, WMC is the largest business trade

association in Wisconsin. Since its founding in 1911, WMC has been dedicated to
                                        viii
             Case: 23-1671    Document: 43      Filed: 11/27/2023   Page: 24




making Wisconsin the most competitive state in the nation in which to conduct

business. WMC and its members have a strong interest in this case. WMC has

members who rely on the oil and natural gas that Line 5 transports and would be left

with no alternative access to this pipeline’s affordable and reliable energy if it were

shut down.

      Amici represent businesses throughout the United States and Canada, many of

which will be negatively impacted by a shutdown of Enbridge’s operation of the Line

5 Pipeline (“Line 5”) in the Straits of Mackinac. Shutting down the pipeline would

constrain an already disrupted energy supply and harm the economies of the United

States and Canada. But this case is about more than an operational pipeline. It’s about

abuses of government power. The State of Michigan—through various state officials—

has filed repeat lawsuits to shut down the pipeline. And those state officials have

engaged in transparent attempts to evade federal jurisdiction, even after the federal

District Court here held that it had authority over this controversy given the compelling

federal interests at stake. Such tactics undermine confidence in government, waste

judicial resources, and impose significant costs on litigants. Cases that present issues

of great importance to the federal system and to the country’s foreign relations belong

in federal court. And businesses should be able to access the federal courts when

jurisdiction is proper, and count on those courts to reject blatant gamesmanship,

particularly from state actors.


                                           ix
            Case: 23-1671     Document: 43     Filed: 11/27/2023   Page: 25




                                  INTRODUCTION

      Enbridge’s brief explains the many reasons why this case belongs in federal

court. The Chambers submit this amici brief to highlight two policy concerns that

further reinforce the propriety of the District Court’s order denying remand.

      First, the proposed shutdown of Line 5 at the Straits of Mackinac would have

substantial negative impact across state and national borders. Line 5 is a critical part

of an interstate and international market for petroleum and natural gas liquids, which

are used to heat homes and businesses, fuel vehicles, and provide a myriad of

manufacturing and other uses. Shutting down the pipeline carries tremendous

economic, energy, and environmental consequences for business and residents

throughout the Midwest and in Canada, and would impact the national economy and

foreign relations.

      Second, the State of Michigan (through various state officials) has engaged in

overt gamesmanship not just to avoid federal court, but to effectively nullify a District

Court order concluding that federal jurisdiction is proper. Such gamesmanship should

not be condoned. It is wasteful and erodes the public’s trust in the government. It also

contravenes the federal courts’ long-recognized and “virtually unflagging” obligation

to exercise federal jurisdiction where it has been found to exist. Colo. River Water

Conservation Dist. v. U.S., 424 U.S. 800, 817 (1976); William Powell Co. v. Nat’l

Indem. Co., 18 F.4th 856, 864 (6th Cir. 2021).

      This Court should affirm the District Court’s order denying remand.
                                           1
            Case: 23-1671    Document: 43     Filed: 11/27/2023    Page: 26




                                    ARGUMENT

I.    THE NATIONAL AND INTERNATIONAL CONSEQUENCES OF A
      LINE 5 SHUTDOWN SUPPORT FEDERAL JURISDICTION.

      The potential negative impact of this suit is difficult to overstate. A shutdown of

Line 5 in Michigan will have effects across the Midwest and in Canada, depriving

businesses and residents of needed fuel, energy, and jobs, and leaving new economic,

environmental, and safety challenges in its wake. This case is indisputably of great

importance “to the federal system as a whole,” further confirming that it should remain

in federal court. Gunn v. Minton, 568 U.S. 251, 260 (2013); Estate of Cornell v.

Bayview Loan Serv., LLC, 908 F.3d 1008, 1015 (6th Cir. 2018).2

       A.     Shutting down Line 5 would lead to severe negative consequences in
              multiple states.

      The petroleum and natural gas markets of individual states in the Midwest are

highly interdependent. Businesses that use and supply energy in the Midwest depend

critically on resources from across the region. INTEK, INC., OFF OF ENERGY POL’Y &

SYS. ANALYSIS, U.S. DEP’T OF ENERGY, U.S. FUEL RESILIENCY: VOLUME III UNITED

STATES FUEL SUPPLY INFRASTRUCTURE VULNERABILITY AND RESILIENCE at 26 (2014),


      2
        The consequences of this case support federal jurisdiction under both theories
advanced by Enbridge. First, there is federal jurisdiction because the “state-law claims
… implicate significant federal issues.” Grable & Sons Metal Products, Inc. v. Darue
Engineering & Manufacturing, 545 U.S. 308, 312 (2005); see Br. of Appellees (ECF
No. 35) at PageID 40. Second, under federal common law, “there is federal question
jurisdiction over actions having important foreign policy implications.” Republic of
Philippines v. Marcos, 806 F.2d 344, 353 (2d Cir. 1986); see Br. of Appellees (ECF.
No. 35) at PageID 50.
                                           2
            Case: 23-1671     Document: 43        Filed: 11/27/2023   Page: 27




https://tinyurl.com/4uda6k5t.

      Take Michigan, for example. Michigan residents consume more propane than

any state in the country. MICH. PUB. SERV. COMM’N, Michigan Statewide Energy

Assessment, at 131 (2019). To feed that demand, businesses in Michigan rely in part

on in-state propane facilities but also on propane deliveries from locations in Canada,

Illinois, and Ohio. Id. at 131; see also Warren Wilczewski, Energy Information

Administration presentation to State of Michigan U.P. Energy Task Force, slide 15

(Nov. 13, 2019). And even the in-state facilities often process their propane from raw

materials piped in from out of state. See MICH. PUB. SERV. COMM’N, Michigan

Statewide Energy Assessment, at 130 (2019). When supplies are especially tight—such

as in the polar vortex of 2014—Michigan has even received propane by truck from

Kansas and as far as the Gulf Coast. Michigan Statewide Energy Assessment at 22, 134

(2019). In addition, “the majority of the refined petroleum products used in Michigan

are produced at refineries elsewhere, such as Ohio, Indiana and Illinois.” MICH. PUB.

SERV. COMM’N, MICH. PETROLEUM SHORTAGE RESPONSE PLAN at 3 (2013),

https://tinyurl.com/29ncwyyu.

      The same is true of Wisconsin. Its residents rank among the highest in the nation

in   propane   consumption.     Today   in       Energy,   U.S. ENERGY INFORMATION

ADMINISTRATION (Aug. 25, 2021), https://tinyurl.com/4ffrbmvd. Wisconsin propane

suppliers thus must also turn to sources from across the Midwest, including in

Michigan, Minnesota, and Illinois. Wis. Exec. Order No. 268 at 1 (December 28,
                                             3
            Case: 23-1671     Document: 43   Filed: 11/27/2023   Page: 28




2017). Wisconsin likewise plays a part in the interconnected petroleum marketplace.

Wisconsin State Profile and Energy Estimates, U.S. ENERGY INFORMATION

ADMINISTRATION (Aug. 17, 2023) https://www.eia.gov/state/analysis.php?sid=WI. A

refinery in Wisconsin receives crude oil from places like Canada and North Dakota by

an interstate pipeline that also serves to transport crude oil across Wisconsin to

refineries in Illinois and Michigan. Id.

      This interdependency means that the shutdown of a pipeline in the Midwest will

have immediate, negative impacts across the region. For example, the 2016 shutdown

of the West Shore Pipeline in Wisconsin created emergency conditions in Michigan.

Mich. Exec. Order No. 2016-10, at 1 (May 24, 2016), https://tinyurl.com/y4tyvac5;

see INTERNAL REVENUE SERVICE NOTICE 2017-30, TEMPORARY RELIEF FOR FUEL

REMOVALS DUE TO ENERGY EMERGENCIES RESULTING FROM WEST SHORE PIPELINE

SHUTDOWN, § 2.01 (2017). Residents of the Upper Peninsula faced shortages and

shipment delays of gasoline and other motor fuel supplies. Id. Those products had to

come by truck instead—which requires long hours from drivers and many miles

driven. In an attempt to overcome at least some of these limitations in the face of an

emergency, the Governor of Michigan had to suspend a state law to permit the drivers

of those transport trucks to put in longer hours than safety requirements ordinarily

allowed. Id. at 2.3


      3
       A similar scenario played out in the Southeast during a 12-day shutdown of
the Colonial Pipeline in Alabama in September 2016. Energy emergencies were
                                         4
            Case: 23-1671    Document: 43      Filed: 11/27/2023   Page: 29




      A Line 5 shutdown would almost certainly be worse from an energy standpoint.

Every day, Line 5 transports up to 540,000 barrels of crude oil and natural gas liquids,

which are refined into products like propane, gasoline, and jet fuel in refineries and

factories in Indiana, Michigan, Ohio, and Pennsylvania.4 Indeed, “Line 5 delivers more

than half the propane and home heating oil consumed in Michigan, and is a vital source

of energy for Ohio and Pennsylvania as well . . . .” M.D. Kittle, The Pipeline War,

WISCONSINSPOTLIGHT.COM, March 20, 2022.

      A shutdown would be felt across the Midwest. For example, Michigan predicts

that a shutdown of Line 5 would cause a closing of the Rapid River, Michigan

processing facility (which receives natural gas liquids from Line 5, extracts propane,

and then returns the propane to Line 5 for transport to Sarnia, Ontario). DYNAMIC RISK

ASSESSMENT SYSTEMS INC. FOR THE STATE OF MICH., ALTERNATIVES ANALYSIS FOR

THE   STRAITS PIPELINES, FINAL REPORT, at 4-6, (2017) (“DYNAMIC RISK

ASSESSMENT”). But Wisconsin also depends on the Rapid River facility for its propane.


declared in Alabama, Georgia, North Carolina, and Tennessee. See Tenn. Exec. Order
No. 56, at 1 (Sept. 16, 2016). In Tennessee, gas supplies became so scarce that parts
of the state experienced a “run on the pumps,” during which sales for gasoline surged
to 50% above normal. Ruth Horton, National Ass’n Of State Energy Offices,
Integrating Alternative Fuel Vehicles into Emergency Plans: A Toolkit for Tennessee,
p. 8.
      4
        Special Committee on the Economic Relationship between Canada and the
United States, Enbridge’s Line 5: An Interim Report; Relationship between Canada
and the United States, at 3 (Apr. 2021; 43rd Parliament, 2nd
Session), https://tinyurl.com/34h7s9wh (“Special Committee Report on Line 5”).

                                           5
            Case: 23-1671    Document: 43     Filed: 11/27/2023   Page: 30




ENBRIDGE, LINE 5 WISCONSIN SEGMENT RELOCATION PROJECT at 3, (2020),

https://tinyurl.com/2hwxnbbj. To compensate for the loss of the Rapid River

processing facility, petroleum products would need to be transported by truck from

other locations. DYNAMIC RISK ASSESSMENT at 4-5.

      A shutdown would also be crippling for jobs. There would be an estimated

annual loss of over 6,000 jobs and $4.82 billion of lost economic output as a result of

a Line 5 closure. Bad River Band of the Lake Superior Tribe of Chippewa Indians of

the Bad River Rsrv. v. Enbridge Energy Co., et al., Case No. 19-cv-602, 2023 WL

4043961 (W.D. Wis. Jun. 16, 2023), Decl. of Dr. Corbett Grainger at 2-3 (Dkt. 205:2).

And it would not be only pipeline jobs. A wide array of industries—from agriculture

to manufacturing—would feel the effects, due to the reliance of these sectors on the

energy products transported by Line 5. Committee on Economic Relationship,

statement of Joseph Mancinelli, International Vice-President, Central and Eastern

Canada Regional Manager, Laborers’ International Union of North America,

https://www.ourcommons.ca/DocumentViewer/en/43-2/CAAM/meeting-

5/evidence#Int-11191807.

      Finally, a shutdown would trigger a cascade of follow-on environmental and

safety effects. Again, if products cannot be obtained by pipeline, they will need to

come by truck or rail. But “pipelines are relatively safe[r] when compared with other

modes, such as rail and truck, for transporting hazardous goods.” U.S. GOVERNMENT

ACCOUNTABILITY OFFICE, OIL AND GAS TRANSP., at 1 and 18–19 (2014). Trucks and
                                          6
               Case: 23-1671   Document: 43    Filed: 11/27/2023    Page: 31




trains mean more air pollution, more road and rail congestion, and possibly more

accidents across the region. Karen Clay et al., The External Costs of Transporting

Petroleum Products by Pipelines and Rail: Evidence From Shipments of Crude Oil

From North Dakota, NATIONAL BUREAU OF ECONOMIC RESEARCH, Sep. 2017, at 3,

https://www.nber.org/system/files/working_papers/w23852/w23852.pdf.

          B.    Shutting down Line 5 would also cause harm internationally.

      But it is not just the Midwest at stake. The harms resulting from a shutdown of

Line 5 would reach into Canada, as the Canadian Government itself has warned

repeatedly and in the strongest of terms.5 Indeed, “the possible shutdown of Line 5 has

raised concerns in Canada about the security of energy supplies, job losses and other

negative effects.”6

      The fuel system of which Line 5 is a part is not only interstate, but international.

Petroleum and natural gas liquids from Line 5 are refined into propane, gasoline, jet

fuel, and other products at refineries in Ontario and Quebec. Special Committee Report

on Line 5 at 3; see Br. of Appellees (ECF No. 35) at PageID 12. Id. Some of these




      5
        In addition to the governmental reports cited and discussed in this brief, the
Government of Canada has filed several amicus briefs in the District Court below. See
Br. of Appellees at 4, 10 (referencing Canada Amicus Br., No. 1:20-1142, R. 45,
PageID##553-54 and Canada Amicus Br., No. 1:20-cv-01142, R. 45, PageID ## 545-
64).
      6
          Special Committee Report on Line 5, at 3.

                                           7
             Case: 23-1671   Document: 43     Filed: 11/27/2023   Page: 32




products are used in Canada7; some are transported back to the United States for

consumption and storage.8 Thus, a shutdown of Line 5 would undoubtedly threaten the

energy market in Canada, too. See Brief of Appellees (ECF No. 35) at PageID 11.

      In fact, a Special Committee of Canada’s House of Commons (“Special

Committee”) was tasked with analyzing the importance of Line 5 to the Canadian

economy and reported that a shutdown would have dire consequences. In its

investigation, the Special Committee heard testimony from Canada’s Minister of

Natural Resources, who explained that “Line 5 supplies four refineries in Ontario and

two in Quebec,” and that thousands of jobs in both Canada and the United States

depend on Line 5. Special Committee Report on Line at 5, 7. The Special Committee

also heard from the Canadian Propane Association, which noted that Line 5 is “the

only pipeline that supplies propane to southern Ontario” and opined that it would be

difficult—if not impossible—to replace the work of Line 5 with other methods, at least

in the short term. Id. at 6-7; see also Br. of Appellees (ECF No. 35) at PageID 12.

      Furthermore, a shutdown could strain and possibly damage diplomatic relations.

According to the Special Committee, “Line 5 is a significant aspect of Canada’s

economic relationship with the United States.” Special Committee Report on Line 5



      7
          M.D. Kittle, The Pipeline War, WISCONSINSPOTLIGHT.COM, March 20, 2022.
      8
          Line 5 and the Great Lakes Tunnel: Fact vs. fiction, ENBRIDGE,
https://www.enbridge.com/projects-and-infrastructure/public-awareness/line-5-fact-
vs-fiction (last accessed Nov. 20, 2023).
                                          8
             Case: 23-1671     Document: 43      Filed: 11/27/2023   Page: 33




at 10. The pipeline “contributes to the Canada–U.S. economic relationship, creates

opportunities of cross-border trade in energy products, and helps to ensure that

consumers in both countries can access these products reliably.” Id. at 3. A shutdown

would plainly be viewed quite negatively by Canadian officials. For example, the

Minister of Energy of Alberta, where much of the product transported on Line 5 is

sourced, stated that a shutdown of Line 5 would “threaten” Alberta’s relationship with

Michigan, and potentially other U.S. states. Id. And the Special Committee itself went

so far as to note that the 1977 Transit Pipelines Treaty prohibits public authorities in

the territories of either country from instituting measures that would interfere in any

way with the transmission of crude oil or natural gas. Id. at 11; Agreement between

the Government of Canada and the Government of the United States of America

Concerning Transit Pipelines, art. 1-2, Jan. 28, 1977, 28 UST 7449, TIAS 8720.

Indeed, in an amicus brief to the District Court, the Government of Canada advised

that it has formally invoked the 1977 Transit Treaty’s dispute resolution provision. Br.

of Amicus Curiae Government of Canada (ECF No. 45), No. 1:20-cv-01142-JTN-RSK

at 8.

II.     THE STATE’S EFFORTS TO EVADE FEDERAL JURISDICTION
        SHOULD NOT BE CONDONED.

        A.     The State and its representatives have sought to escape federal
               jurisdiction through overt gamesmanship.

        This case is one of two essentially identical cases filed by representatives of the

State of Michigan, both seeking to shut down Line 5. This case is the first, brought in
                                             9
            Case: 23-1671        Document: 43   Filed: 11/27/2023   Page: 34




state court by the Michigan Attorney General and requesting a declaration that the

1953 Easement9 granting Enbridge the right to construct and operate Line 5 in the

Straits of Mackinac is void. ECF No. 23 at 1. The suit also seeks a permanent injunction

against Enbridge’s continued operation of Line 5. Id. The parties filed cross motions

for summary disposition, which remained pending for around a year.

      More than a year later, a second suit—in the name of the State of Michigan,

Governor of Michigan, and Michigan Department of Natural Resources—was also

filed in state court, seeking effectively the same relief. That suit followed a Notice of

Revocation and Termination of Easement (the “Shutdown Order”), which was issued

by the State of Michigan and purported to revoke and terminate the 1953 Easement.

Op. & Order at 2 (ECF No. 80), Michigan v. Enbridge, 571 F. Supp. 3d. 851 (W.D.

Mich. 2021) (No. 1:20-cv-01142-JTN-RSK) (“Michigan v. Enbridge Order”). The

representatives of the State sought a declaration that its Shutdown Order is valid,

together with a permanent injunction preventing Enbridge’s continued operation of the

Line 5 Pipeline. Id. at 2-3.10


      9
         The 1953 Easement granted to its grantees and its successors and assigns “the
right ‘to construct, lay, maintain, use and operate’ two 20-inch diameter pipelines for
the purpose of transporting petroleum and other products ‘over, through, under, and
upon’ specifically described bottomlands owned by the State of Michigan in the
Straits of Mackinac.” Michigan v. Enbridge, No. 1:20-cv-01142-JTN-RSK (ECF. No.
80) at 2. “The Enbridge Parties are the successor in interest to Lakehead Pipe Line
Company, the grantee of the 1953 Easement.” Id.
      10
        A little more than a week later, Enbridge filed suit against Michigan in federal
court, seeking declaratory and injunctive relief that the State’s Shutdown Order
                                          10
            Case: 23-1671     Document: 43     Filed: 11/27/2023      Page: 35




      Enbridge removed the second suit to federal court and defeated a motion to

remand. Motion to Remand (ECF No. 41), Michigan v. Enbridge, 571 F. Supp. 3d. 851

(W.D. Mich. 2021); Michigan v. Enbridge Order.11 The District Court held that it had

jurisdiction, agreeing with Enbridge that “the scope of the property rights the State

Parties assert necessarily turns on interpretation of federal law that burdens those

rights.” Michigan v. Enbridge Order at 15. Additionally, the court held that the federal

interests in the issues were actually disputed and substantial. Id.

      Immediately after the District Court’s ruling, the State overtly sought to nullify

its effect. Its representatives voluntarily dismissed the suit. And the Governor said

publicly and unequivocally that the point of the maneuver was to evade an otherwise

controlling determination of federal jurisdiction: “[T]he federal court has now decided

to keep the lawsuit I filed in November 2020. I believe the people of Michigan, and

our state courts, should have the final say . . . After today’s action, Attorney General

Dana Nessel’s lawsuit, filed in June 2019, should now be able to move forward

expeditiously in state court.” Governor Whitmer Takes Action to Protect the Great

Lakes (Nov. 30, 2021), https://tinyurl.com/yc5cj5hv.


violated federal law. Enbridge v. Whitmer, No. 1:20-cv-1141. Enbridge alleged that
the Shutdown Order violated a host of federal constitutional and statutory provisions,
including the Supremacy Clause, Interstate Commerce Clause, Foreign Commerce
Clause, and Foreign Affairs Doctrine.
      11
         At this time, the state court proceedings in Nessel v. Enbridge were held in
abeyance in recognition of the fact that the same controversy was pending before the
federal court. Order, Case No. 19-474-CE (Jan. 20, 2021).
                                            11
             Case: 23-1671    Document: 43      Filed: 11/27/2023   Page: 36




       But because the District Court had found federal jurisdiction over a materially

identical suit, Enbridge then removed this case to federal court too, and it was assigned

to the same district judge. ECF No. 1. The Michigan Attorney General moved to

remand anyway, which the District Court denied, and that order is now the subject of

this appeal. Id. at 1.

       The State’s actions, through its representatives in both cases, are not simply the

efforts of a motivated plaintiff to seek what it views in the first instance as a more

favorable forum. They go further than that. The State’s representatives have now

repeatedly sought to escape federal court in the face of an order finding federal

jurisdiction proper. The first time, the Governor admitted as much. Now, the Attorney

General tries to distinguish the previous case as “the Governor’s case.” Br. of

Appellants (ECF No. 18) at 60. But that is a distinction without difference. The two

suits involve the same underlying facts and law, and seek effectively the same relief.

Indeed, even the Attorney General has previously admitted that the two cases are

“closely parallel.” Br. in Support of Mot. to Remand (ECF No. 11) at PageID.281. As

the District Court said below, the reality is that the so-called Governor’s case is not

materially different from this case, and therefore, “[n]othing has changed since the first

order denying remand.” Op. & Order at 9 (ECF No. 23), Nessel v. Enbridge, 2023 WL

2482922 (W.D. Mich. 2023) (No. 1:21-cv-1057) (Nessel v. Enbridge Order). The

Attorney General, like the Governor before, is plainly seeking “to gain an unfair

advantage through the improper use of judicial machinery” and “engag[ing] in
                                           12
            Case: 23-1671     Document: 43      Filed: 11/27/2023   Page: 37




procedural fencing and forum manipulation.” Id. at 11.

       B.     The State’s gamesmanship is wasteful, unbecoming, and inconsistent
              with the federal courts’ “virtually unflagging” obligation to exercise
              federal jurisdiction where it exists.

      At a minimum, the State’s gamesmanship crosses the line from zealous

advocacy to the kind of wasteful litigation strategy that courts strongly disfavor. There

are times where “procedural and semantic gamesmanship [become] abusive of the

judicial process and wasteful of resources of the parties and the court.” Colt Industries

Operating Corp. v. Index-Werke K.G., 739 F.2d 622, 623-24 (Fed. Cir. 1984). This is

one of those times. It is one thing to file a motion to remand on a question of federal

jurisdiction not yet decided. It is another to voluntarily dismiss that suit after losing

the motion. And it is altogether inexcusable to continue to resist federal jurisdiction

when the only basis for distinguishing the two suits is the name of the officeholder

leading each suit—a fact that has no bearing whatsoever on the question of federal

jurisdiction. We certainly should expect more from our public officials, who should be

working to encourage trust in our judicial process, not undermine it.

      That is not the only problem with the State’s actions, however. The State’s

gamesmanship here runs up against one of the most important duties of the federal

judiciary. “[W]hen a federal court has jurisdiction, it also has a ‘virtually unflagging

obligation ... to exercise’ that authority.” Mata v. Lynch, 576 U.S. 143, 150 (2015)

(quoting Colo. River., 424 U.S. at 817). Put simply, it means a court has “no more right

to decline the exercise of jurisdiction which is given, than to usurp that which is not
                                           13
            Case: 23-1671     Document: 43      Filed: 11/27/2023   Page: 38




given.” Sprint Commc'ns, 571 U.S. 69, 77 (2013). As this Court has put it, this

“obligation is deep-rooted and embedded in the core of American jurisprudence.” In

re Kramer, 71 F.4th 428, 444 (6th Cir. 2023). And it is a mandate the Supreme Court

and the lower courts have reaffirmed with increasing frequency. See., e.g., Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 167 (2014); Lexmark Int’l, Inc. v. Static

Control Components, Inc., 572 U.S. 118, 126 (2014); Sprint Commc'ns, 571 U.S. at

77; Republic Bldg. Co., Inc. v. Charter Twp. of Clinton, Mich., 81 F.4th 662, 666 (6th

Cir. 2023); Doster v. Kendall, 54 F.4th 398, 411 (6th Cir. 2022); William Powell Co. v.

Nat'l Indem. Co., 18 F.4th at 864.

      Indeed, this unflagging duty has recently caused the Supreme Court to question

even its relatively long-standing doctrine of prudential standing. Under that doctrine,

courts have declined for decades on purely judge-made grounds to hear cases that are

“properly within federal courts’ Article III jurisdiction.” Lexmark Int'l, Inc., 572 U.S.

at 125. That, the Supreme Court has observed, is “in some tension with our recent

reaffirmation of the principle that a federal court's obligation to hear and decide cases

within its jurisdiction is virtually unflagging.” Id. at 126 (cleaned up); see also Doster

v. Kendall, 54 F.4th at 411 (“the Supreme Court has since clarified that courts may not

create prudential-standing common law”).

      Similarly, the Supreme Court and individual justices have increasingly called

out tactics that are transparently aimed at depriving the Court of jurisdiction. In Knox

v. Serv. Emps. Int’l Union, Loc. 1000, the Court held that “maneuvers designed to
                                           14
            Case: 23-1671     Document: 43      Filed: 11/27/2023   Page: 39




insulate a decision from review by this Court must be viewed with a critical eye.” 567

U.S. 298, 307 (2012). In an opinion for three justices in N.Y. State Rifle & Pistol Ass'n,

Inc. v. City of New York, Justice Alito noted that the Court has “been particularly wary

of attempts by parties to manufacture mootness in order to evade review,” and

expressly tied that vigilance to the Court’s “‘virtually unflagging’ obligation to

exercise … jurisdiction where it exists.” 140 S. Ct. 1525, 1533 (2020) (Alito, J.,

dissenting). And during oral argument just a few months ago, the Chief Justice

repeated the same concern, wondering “whether or not somebody … can manipulate

the Court’s jurisdiction … after the Court’s granted cert.” Transcript of Oral Argument

at 13, Acheson Hotels, LLC v. Laufer, 143 S.Ct. 1053 (2023).

      The lower courts, likewise, have resisted efforts to specially construe removal

jurisdiction narrowly or otherwise make it easier to escape a federal forum. This past

year, in LeChase Constr. Servs., LLC v. Argonaut Ins. Co., the Second Circuit rejected

an “emerging” understanding of 28 U.S.C. § 1447(e)—under which district courts

were exercising greater discretion to remand cases to state court—as “sharply at odds

with ‘the virtually unflagging obligation of the federal courts to exercise the

jurisdiction given them.’” 63 F.4th 160, 173 (2d Cir. 2023) (quoting Colo. River, 424

U.S. at 817). In Williams v. Costco Wholesale Corp., the Ninth Circuit held that the

federal courts’ “virtually unflagging obligation” to exercise the jurisdiction conferred

on them requires those courts to look at all documents filed post-removal—and not

just the removal notice—to discern whether federal jurisdiction exists. 471 F.3d 975,
                                           15
               Case: 23-1671   Document: 43      Filed: 11/27/2023   Page: 40




977 (9th Cir. 2006). And in Reece v. Bank of N.Y. Mellon, the Eighth Circuit held that

the one-year removal limit in § 1446(c)(1) did not apply to any class actions, because

“any other reading . . . would . . . permit[] plaintiffs to evade federal jurisdiction

through clever gamesmanship.” 760 F.3d 771, 776 (8th Cir. 2014).

          Permitting remand here would be in tension with all of this case law. Through

its representatives, including its Attorney General in this case, the State of Michigan

has transparently and repeatedly fought to evade federal jurisdiction ever since the

District Court below held that it had authority over this controversy. If this Court were

to reverse and remand to state court, it would reward and incentivize the State’s efforts

to effectively nullify that jurisdictional finding. That simply cannot be squared with the

“virtually unflagging” obligation of federal courts to exercise federal jurisdiction once

it has been found to exist.

          For her part, the Attorney General does not dispute the impropriety of “forum

manipulation” and “procedural fencing”—the phrases the district court used to

describe the tactics undertaken by the State and its representatives. Br. of Appellants

(ECF No. 18) at 59; Nessel v. Enbridge Order at 11 (“The Court’s decision, therefore,

is also undergirded by Plaintiff’s desire to engage in procedural fencing and forum

manipulation.”). She merely denies that she or the State engaged in such tactics. Br. of

Appellants (ECF No. 18) at 59. But the procedural history of the two cases speaks for

itself.


                                            16
           Case: 23-1671   Document: 43     Filed: 11/27/2023   Page: 41




                                CONCLUSION

     The Court should affirm the District Court’s denial of the Attorney General’s

motion to remand.



                                          Respectfully submitted,

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November 24, 2023




                                       17
            Case: 23-1671     Document: 43      Filed: 11/27/2023   Page: 42




                       CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the word limit imposed by Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 5,251 words, excluding material

exempted by Federal Rule of Appellate Procedure 32(f) and Circuit Rule 32(b)(1).

      I further certify that the brief complies with the typeface and type-style

requirements of Federal Rule of Appellate Procedure 32(a)(5) and (6) because it has

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      I hereby certify that, on November 24, 2023, I electronically filed the foregoing

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                                           18
